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                         6       Attorneys for Defendant
                                 J.B. HUNT TRANSPORT, INC.
                         7

                         8                              UNITED STATES DISTRICT COURT
                         9                            CENTRAL DISTRICT OF CALIFORNIA
                      10

                      11         TITO AYALA, an individual,                Case No. 2:22-cv-03095-GW-AS
                      12                        Plaintiff,                 CERTIFICATE OF SERVICE OF
                      13               v.                                  INITIATING DOCUMENT(S)

                      14         J.B. HUNT TRANSPORT INC., a Georgia
                                 Corporation; and DOES 1 through 50,
                      15         inclusive,                                Los Angeles Superior Court Case No.
                                                                           21STCV42700
                      16                        Defendants.                Complaint Filed: November 18, 2021
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LITTLER MENDELSON, P.C.
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                                             CERTIFICATE OF SERVICE OF INITIATING DOCUMENT(S)
                               Case 2:22-cv-03095-GW-AS Document 8 Filed 05/09/22 Page 2 of 3 Page ID #:81



                         1                                  CERTIFICATE OF SERVICE
                         2             I am employed in Los Angeles County, California. I am over the age of eighteen
                         3       years and not a party to the within-entitled action. My business address is 633 W. Fifth
                         4       Street, 63rd Floor, Los Angeles, CA 90071.
                         5             On May 9, 2022, I served the foregoing document(s) entitled:
                         6
                                        DOC 1        DEFENDANT J.B. HUNT TRANSPORT, INC.’S
                         7
                                                     NOTICE OF REMOVAL OF CIVIL ACTION TO
                         8                           FEDERAL COURT
                         9              DOC 1-1      DECLARATION OF MARK JOSTAD IN SUPPORT
                                                     OF DEFENDANT J.B. HUNT TRANSPORT, INC.’S
                      10                             NOTICE OF REMOVAL TO FEDERAL COURT
                      11
                                        DOC 1-2      DECLARATION OF BRADLEY E. SCHWAN IN
                      12                             SUPPORT OF DEFENDANT J.B. HUNT
                                                     TRANSPORT, INC.’S NOTICE OF REMOVAL OF
                      13                             CIVIL ACTION TO FEDERAL COURT
                      14
                                        DOC 2        CIVIL COVER SHEET
                      15
                                        DOC 3        DEFENDANT J.B. HUNT TRANSPORT, INC.’S
                      16                             NOTICE OF INTERESTED PARTIES
                      17                DOC 4        DEFENDANT J.B. HUNT TRANSPORT INC.’S
                      18                             CORPORATE DISCLOSURE STATEMENT

                      19                DOC 5        NOTICE OF ASSIGNMENT TO UNITED STATES
                                                     JUDGES
                      20
                                        DOC 6        NOTICE TO PARTIES OF COURT-DIRECTED
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                                                     ADR PROGRAM
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                                        DOC 7        NOTICE OT COUNSEL RE CONSENT TO
                      23                             PROCEED BEFORE A UNITED STATES
                                                     MAGISTRATE JUDGE
                      24

                      25

                      26               on the interested parties in this as follows:
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LITTLER MENDELSON, P.C.
    2049 Century Park East
           5th Floor
  Los Angeles, CA 90067-3107
         310-553-0308
                                                                            2
                                                   CERTIFICATE OF SERVICE OF INITIATING DOCUMENT(S)
                               Case 2:22-cv-03095-GW-AS Document 8 Filed 05/09/22 Page 3 of 3 Page ID #:82



                         1            Janeen Carlberg, Esq.                               Email List:
                                      LAW OFFICES OF JANEEN CARLBERG                      jcarlberg@lawfirmoc.com
                         2            1912 N. Broadway, Suite 106                         info@lawfirmoc.com
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                                      Tel.: (714) 665-1900                                Attorney for Plaintiff, Tito Ayala
                         4            Fax: (714) 665-1920

                         5

                         6                  BY ELECTRONIC MAIL: Based on a court order or an agreement of the
                         7                   parties to accept service by e-mail or electronic transmission, I caused the
                                             documents to be sent to the persons at the e-mail addresses on the attached
                         8                   service list on the dates and at the times stated thereon. I did not receive,
                         9                   within a reasonable time after the transmission, any electronic message or
                                             other indication that the transmission was unsuccessful. The electronic
                      10                     notification address of the person making the service is laispuro@littler.com:
                      11
                                          I hereby certify that I am employed in the Office of a member of the Bar of this
                      12
                                 Court at whose direction the service was made.
                      13
                                          Executed on May 9, 2022, at Los Angeles, California.
                      14
                                                                                        /s/ Laura Aispuro
                      15                                                                Laura Aispuro
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  Los Angeles, CA 90067-3107
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                                                             CERTIFICATE OF SERVICE OF INITIATING DOCUMENT(S)
